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     Telephone 510/832-3555
 4
     Attorney for Defendant
 5   JOSE FRANCISCO LEYVA
 6
 7                          UNITED STATES DISTRICT COURT
 8                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,         )               D.C. No. CR 05-671-WHA
                                       )               (San Francisco)
11                    Plaintiff,       )
                                       )               STIPULATION TO CONTINUE
12         vs.                         )               SENTENCING HEARING
                                       )               AND [PROPOSED] ORDER
13   JOSE FRANCISCO LEYVA,             )
                                       )
14                    Defendant.       )
     _________________________________ )               Judge: Hon. William H. Alsup
15
16          Defense counsel’s previously unanticipated travel plans have created a
17   schedule conflict on August 15, 2006, the date now set for sentencing. Therefore, the
18   parties agree and stipulate that this Court shall enter an order continuing the
19   sentencing from August 15 to the Court’s criminal calendar on September 5, 2006 at
20   2:00 p.m. Defendant Leyva is currently out of custody on pretrial release. The
21   probation officer is available on that date, as are both counsel.
22          IT IS SO STIPULATED:
23   DATED: July 12, 2006                                /S/ Suzanne A. Luban
                                                       SUZANNE A. LUBAN,
24                                                     Counsel for Defendant Leyva
25   / / / /
     / / / /
26   / / / /
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28                                               1
       Case 3:05-cr-00671-WHA           Document 74        Filed 07/31/06        Page 2 of 2



 1
 2   DATED: July 12, 2006                                    /S/ Robert D. Rees 1
                                                           ROBERT DAVID REES
 3                                                         Assistant United States Attorney
                                                           Counsel for Plaintiff
 4
 5
 6
     _____________________
 7
 8
                                               ORDER
 9
10
            For Good Cause Shown, IT IS HEREBY ORDERED that the sentencing
11
     hearing for defendant Jose Leyva shall be continued from August 15, 2006 to
12
                                                                           ISTRIC
     September 5, 2006 at 2:00 p.m.
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              July 31
     Dated: _____________, 2006
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17                                                         WILLIAM H. ALSUP
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                                                           U.S. District
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            1
             I hereby attest that I have on file all holograph signatures for any signatures
26   indicated by a "conformed" signature (/S/) within this efiled document.
27                                                            /S/ Suzanne A. Luban
                                                            SUZANNE A. LUBAN
28                                                          Counsel for Defendant Leyva
